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      In The United States Court of Federal Claims
                                          No. 07-680C

                                    (Filed: October 14, 2011)
                                            _________
 5860 CHICAGO RIDGE, LLC,

                       Plaintiff,

        v.

 THE UNITED STATES,

                       Defendant.
                                            _________

                                             ORDER
                                            _________

        As discussed at the closing argument, held on October 6, 2011, in order to provide the
court with a clearer sense of where leaks were encountered and how frequently they occurred, a
final post-trial filing is hereby ordered as follows:

       1.     On or before October 31, 2011, the parties shall file a diagram of the
              second floor of 5860 Chicago Ridge, color-coded to illustrate the
              date(s) of leaks occurring on that floor;

       2.     The parties shall agree upon and use an identical diagram;

       3.     That diagram shall be color-coded such that areas affected by leaks
              in 2004 are identified with green, those leaks that occurred in 2005
              are shown in yellow, leaks in 2006 are in pink, and areas that
              suffered leaks during 2007 are highlighted in blue; and

       4.     Any area of the second floor of 5860 Chicago Ridge that was
              affected by leaks in multiple years should be in orange, without any
              distinction based on the severity or frequency of the leaking.

       IT IS SO ORDERED.


                                                           s/Francis M. Allegra
                                                           Francis M. Allegra
                                                           Judge
